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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

                  Plaintiff,
                                            Case No. 09-CR-043-SPF

v.

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

                  Defendants.

 SPRINGER’S REPLY REGARDING OPPOSITION TO SPRINGER’S MOTIONS TO DISMISS

1.    Venue

      The United States argues that venue is proper in the United States’ Northern

Judicial District “Oklahoma” because under 18 U.S.C. § 3237 venue is proper where

ever the “offense” “begun, continued or completed.”      Opp at 3.

      A.    Conspiracy Offense

      The United States claims “Defendant Springer resided within the Northern

District of Oklahoma” for the purpose of venue in Count One. The United States

alleges “numerous overt acts” to have been “committed within the Northern District

of Oklahoma.” The United States agrees all Internal Revenue Districts and District

Directors were “abolished” by October, 2000.1 Opp. at 4 The United States also


      1
      The United States takes exception to Springer’s claim the Internal
Revenue District Arkansas-Oklahoma was abolished in the latter part of 1999.
Though they cite to evidence all the Internal Revenue Districts were abolished
by October, 2000, America did not all just wake up one morning and viola, the

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agrees with Springer that section 6091 of Title 26 “governs the place for filing tax

returns.” Opp. at 4

      The United States decides however to ask this Court to reject United States v.

Brewer, 486 F.2d 507,509 (10th Cir. 1973) and the cases cited by the 10th Circuit2

therein and the holding in U.S. v. Taylor, 828 F.2d 630, 634-635 (10th Cir. 1987).

      First, the United States argues that “common sense” is what governs the

statutory crimes of Title 18, Section 371, Title 26, Sections 7201 and 7203, when those

allegations are premised upon willful failure to file any return. Opp. at 4. The

argument goes that “words are given their fair meaning in accord with the manifest

intent of the lawmakers.” citing United States v. Moore, 423U.S. 122, 145 (1975),

quoting United States v. Brown, 333 U.S. 18, 25-26 (1948).

      Neither sections 7201 or 7203 mention section 6091. Furthermore, Title 18,

Section 371 fails to refer to section 6091. The United States suggests this Court should

construe sections 371, 7201 and 7203, fairly in the “criminal” context. Opp. at 4.

      Count One in paragraph 14 alleges Springer did “refrain from filing forms with


districts were gone. No, this was a controlled demolition so methodically done
the public and most Federal Judges did not know or were aware of the
demolition.
      2
       United States v. Gorman, 393 F.2d 209, 213-214 (7th Cir.), cert. denied, 393
U.S. 832, 89 S.Ct. 102, 21 L.Ed.2d 103 (1968); Yarborough v. United States, 230 F.2d
56, 58-59 (4th Cir.), cert. denied, 351 U.S. 969, 76 S.Ct. 1034, 100 L.Ed. 1487 (1956);
Bowles v. United States, 73 F.2d 772, 773-774 (4th Cir. 1934), cert. denied, 294 U.S.
710, 55 S.Ct. 506, 79 L.Ed. 1245 (1935); United States v. Commerford, 64 F.2d 28,
32-33 (2d Cir.), cert. denied, 289 U.S. 759, 53 S.Ct. 792, 77 L.Ed. 1502 (1933). See
also United States v. Lombardo, 241 U.S. 73, 36 S.Ct. 508, 60 L.Ed. 897 (1915);
Weaver v. United States, 298 F.2d 496 (5th Cir. 1962).

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the Internal Revenue Service, including Forms 1040 and 1099.” The United States

cites to the 7th Circuits holding in United States v. Patridge, 507 F.3d 1092, 1094 (7th

Cir. 2007) which found “that § 7203 requires a ‘return’ but does not define that word

or require anyone to use Form 1040, or any ‘official’ form at all.” at 1095.

      In Counts Two through Six the Grand Jury alleged Springer failed to file “U.S.

Individual Income Tax Returns” as “required by law.”

      The United States takes the position now that it was not the law that required

Springer to “file” a “return” but rather because there were no internal revenue

districts or district directors, section 6091(b)(1)(B)(i) controls the “returns” Springer

was “required” to “make” or “file.” Opp. at 4

      Title 26, Section 6091(b)(1)(B)(I) states:

      “Exception Returns of - (I) persons who have no legal residence or
      principal place of business in any internal revenue district...shall be
      made at such place as the Secretary may by regulations designate.”


      In order to reach this regulation, this Court must first make the conclusion that

“internal revenue districts” or “district directors” are not a place “provided for by this

title.” See Title 26, Section 6091(a). Section 6091(b)(1)(A) clearly and unmistakably

directs “in the case of a return of tax required under authority of part II of this

subchapter...a return shall be made to the Secretary in the internal revenue district

in which is located the legal residence.... of the person making the return” or at “a

service center serving the internal revenue district referred to in clause (I), as the


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Secretary my by regulation designate.”

      It should first be obvious there are no service centers serving any internal

revenue districts. The United States does not argue otherwise.

      Springer contends because section 6091 provide the place of “internal

revenue districts” that Congress has not given to the Secretary the power to

prescribe by regulation the meaning of the crime of failure to file returns under

section 7201 or 7203. Furthermore, Title 18, section 371, encompassing failing to

provide information must hinge upon section 6091.

      It is a fundamental tenet of due process that "[n]o one may be required at

peril of life, liberty or property to speculate as to the meaning of penal statutes."

Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939). A criminal statute is therefore invalid

if it "fails to give a person of ordinary intelligence fair notice that his contemplated

conduct is forbidden." United States v. Batchelder, 442 U.S. 114, 123 (1979)

      Sections 371, 7201 and 7203, taken with section 6091, are clearly then beyond

ambiguous.

      The United States cannot rest though as they offer a new Department of

Justice interpretation of Title 26, Section 6091. Since there are no internal revenue

districts or district directors, (b)(1)(B)(I) purportedly kicks in because Springer does

not have a “legal residence” in any “internal revenue district.”            Opp. at 5.

Accordingly, as the argument goes, “the Secretary may designate an alternative



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place.” Opp. at 5.

      This “place” the United States argues is specified, for purpose of a crime

under section 371, 7201 and 7203, by the Secretary, is found at 26 CFR 1.6091-2.

There are two reasons why this argument fails miserably. The first is that 26 CFR

1.6091-2 for the years 2000 through 2004 read as follows:

      (a) Individuals, estates, and trusts. (1) Except as provided in paragraph
      (c) of this section, income tax returns of individuals, estates, and trusts
      shall be filed with the district director for the internal revenue district in
      which is located the legal residence or principal place of business of
      the person required to make the return, or, if such person has no legal
      residence or principal place of business in any internal revenue district,
      with the District Director at Baltimore, Md. 21202.
See Exhibit 29

      So for 2000 through 2004 there were no internal revenue districts and no

District Directors, including in Baltimore. The United States clearly then argues:

      The Secretary of the Treasury has so designated. Title 26, Code of
      Federal Regulations, Section 1.6091-2 clearly provides that “income tax
      returns of individuals, estates, and trusts shall be filed with any person
      assigned the responsibility to receive returns at the local Internal
      Revenue Service office that serves the legal residence or principal
      place of business of the person required to make the return.” Prior to,
      as well as after, the September 16, 2004 revision of Section 1.6091,
      taxpayers were afforded the option of filing their tax returns at the local
      office of the Internal Revenue Service, or with the Internal Revenue
      Service Center servicing their residence. The local office of the Internal
      Revenue Service serving Defendant Springer’s legal residence and
      principal place of business is located at 1645 S. 101st East Avenue,
      Tulsa, Oklahoma 74128, and was located at that address at all times
      relevant to the Indictment.


Opp. at 5.


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      The scandalous argument here could not be more clear. The United States

says “Prior to as well as after, the September 16, 2004 revision of section 1.6091,

taxpayers were afforded the option of filing returns at the local office of the Internal

Revenue Service.” As Springer clearly shows the regulation prior to the 2005 filing

year never directs any “local” anything whatsoever.

      What does being afforded mean for the purpose of an alleged federal

crime? As Springer argued in his Motion to Dismiss, the claims against Springer are

“specific intent crimes.” Denbo v. U.S. 988 F.2d 1029 (10th Cir. 1993)(“we're talking

about criminal intent in the one area [sections 7201 and 7203]”).

      Springer certainly objects to any construction that Congress deferred to the

Secretary of the Treasury the power to determine where violations of section 371,

7201 and 7203 purportedly begin by “regulation.”

      Having said that, even the regulation does not save the United States failures.

In Screws v. U.S., 325 U.S. 91, 102 (1945) the Supreme Court said among other things,

“In every crime or public offense there must exist a union, or joint operation, of act

and intent, or criminal negligence.'"

      The United States argues such is not to be though in this case. The United

States is wrong and they know they are wrong. In United States v. Mersky, 361 U.S.

431, (1960):


       An administrative regulation, of course, is not a "statute." While
      in practical effect regulations may be called "little laws," they

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      are at most but offspring of statutes..... This Court has always
      construed the Criminal Appeals Act narrowly, limiting it strictly "to
      the instances specified." United States v. Borden Co., 308 U.S. 188,
      192 (1939). See also United States v. Swift & Co., 318 U.S. 442
      (1943). Here the statute is not complete by itself, since it merely
      declares the range of its operation and leaves to its progeny the
      means to be utilized in the effectuation of its command. But it is
      the statute which creates the offense of the willful removal of the
      labels of origin and provides the punishment for violations. The
      regulations, on the other hand, prescribe the identifying
      language of the label itself, and assign the resulting tags to their
      respective geographical areas. Once promulgated, these
      regulations, called for by the statute itself, have the force of law,
      and violations thereof incur criminal prosecutions, just as if all the
      details had been incorporated into the congressional language.
      The result is that neither the statute nor the regulations are
      complete without the other, and only together do they have any
      force. In effect, therefore, the construction of one necessarily
      involves the construction of the other.
Id. @ 438
      Next is the assertion that the new regulation will save the claims in 20053

because for that year the regulation stated:

      (a) Individuals, estates, and trusts. (1)Except as provided in paragraph
      (c) of this section, income tax returns of individuals, estates, and trusts
      shall be filed with any person assigned the responsibility to receive
      returns at the local Internal Revenue Service office that serves the legal
      residence or principal place of business of the person required to
      make the return.
      Out of this regulation construed in the criminal context the United States asks


      3
       Although the United States argues the new regulation came to be in
September 2004, the actual date upon Exhibit 30 is April 1, 2005. If this Court
construes the new regulation to reach the 2004 tax year, which would clearly be
ex post facto and in violation of the Constitution, Springer suggests this
opposition to the new regulation argument by the United States be equally
applied to 2004 and any other year just to be thorough.

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this Court conclude that the alleged crimes in Counts One through Six all occurred

at 1645 S. 101st East Avenue, Tulsa, Oklahoma 74128, because this is the “Local

Internal Revenue Service office.”

      So by regulation the crimes alleged in Counts One through Six occurred

according to 26 CFR 1.6091-2 and the Secretary’s power executed pursuant to that

which Congress gave under Title 26, Section 6091(b)(1)(B)(I).

      The Grand Jury indictment offered three places Austin Texas, Tulsa, or

Commissioner of Internal Revenue. The United States, who has had complete

control of their theory and time, now tells this Court the “returns” or “reports” were

not required in Austin, Texas, or with the Commissioner, as the Grand Jury alleges,

but now only at 1645 S. 101st East Avenue, Tulsa, Oklahoma 74128.

      Regulations are to be “published in the Federal Register, and constructive

notice of their contents is thus [to be] given all persons affected by them.” Yakus

v. U.S., 321 U.S. 414, 435 (1944) Penal provisions of a statute are applicable only to

violations of a regulation which are willful. Id. There is no regulation identified by the

United States that directs 1645 S. 101st East Avenue, Tulsa, Oklahoma 74128 is the

specific place information is to be provided after April 1, 2005 by persons living

where Springer lives on Form 1040 or 1099. What a three ring circus!

      The United States is now arguing Springer and Stilley conspired to deprive the

IRS at 1645 S. 101st East Avenue, Tulsa, Oklahoma 74128 of information they were

entitled to pursuant to 26 CFR 1.6091-2(2005).

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       Such a construction starves this Court of venue and Jurisdiction in Counts

One, Two, Three, Five and Six directly.

       The United States argument regarding the new regulation is an attempt to

save Count Four. Count Four alleges beginning in January, 2005, and continuing

to January, 2009, in the Northern District.

       Any purported “return” or “U.S. Individual Income Tax” form for the “calender

year “2005" the United States now argues was required to be “filed” at the “local

office” in “Tulsa.” The instruction by the Commission says “Where do you file” and

answers that question by stating for “Oklahoma” in “Austin, Texas.”

       Springer understands the “instructions” by the Commissioner are less than

trustworthy, but the United States arguing he meant to tell the citizens of the State

of Oklahoma to provide their information at 1645 S. 101st East Avenue, Tulsa,

Oklahoma 74128, is beyond absurd.

       Springer simply was not required to say or do anything at the “local office”

in Tulsa and the United States points to no statute or regulation interpreting any

statute, that says otherwise. Regardless of the year 2000, 2002, 2003, 2004 and 2005.

The outcome is the same. There were no internal revenue districts and no District

Directors and thus Springer was not “required by law” to say or do anything within

the jurisdiction of this Court.




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       B.     Tax Evasion Offense

       Counts Two, Three and Four, each suffer from the same defect explained

 above for Count One. Springer incorporates the argument above for Count One

 in reply to Counts Two, Three and Four.

       In addition, Springer addresses the “continuing” offense theory advanced by

 the United States. The United States argues the Grand Jury Tax Evasion Theory is

 premised upon Springer’s failure to file income tax information on some form of

 return for calender years 2002, 2003 and 2005.

       Springer was not required to report any of the money he received to the IRS

 in Tulsa on Form 1040 or 1099 nor on any specific date. “Willfulness, as construed by

 our prior decisions in criminal tax cases, requires the Government to prove that the

 law imposed a duty on the defendant, that the defendant knew of this duty, and

 that he voluntarily and intentionally violated that duty.” Cheek v. United States, 498

 U.S. 192, 200-2001 (1991) (slip op., at 7) ("Congress has . . . softened the impact of

 the common law presumption [that ignorance of the law is no defense to criminal

 prosecution] by making specific intent to violate the law an element of certain

 federal criminal tax offenses"); 26 U.S.C. §§ 7201, 7203 (criminalizing willful evasion

 of taxes and willful failure to file a return); See United States v. Thompson/Center,

 504 U.S. 505, 517-518 (1992) “In certain cases involving willful violations of the tax

 laws, we have concluded that the jury must find that the defendant was aware of

 the specific provision of the tax code that he was charged with violating.” Bryan v.

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 United Statse, 524 U.S. 184, 194 (1998); quoting , Cheek v. United States, 498 U.S. 192,

 201 (1991).

       Because there were no “internal revenue districts” and no “District Directors”

 there was no place the law required Springer to provide anything for these

 calender years to the Internal Revenue Service, as a matter of law.          How could

 Springer intend to fail to act, as purportedly “required by law,” where there is no

 place for any such “requirement” to specifically occur?

       C.      Willful Failure to File Offense

       Incorporating the arguments above as to Counts One, Two, Three and Four,

 Springer replies to the United States opposition as it relates to Counts Five and Six.

 Counts Five and Six are the purported violations of section 7203 purportedly taking

 place in the Northern District or in Texas or Washington D.C.        In these claims of the

 purported Grand Jury Springer is alleged to have “willfully failed to file an income

 tax return.” by April 15, 2003 and 2005.         Section 7203 directs “at the times” but

 leaves out “at the place” and there is no mention of where the purported crime of

 failing to make a return is to have occurred.

       There is simply no way to show Springer willfully failed to make or file anything

 with “as required by law” without the complete theory of law giving the public such

 notice of what the law requires. There are no internal revenue districts and no

 District Directors to which section 6091 would then complete for a section 7203

 violation.

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 2.    Paperwork Reduction Act of 1995

       The United States argues Springer’s “complete defense” under the Paperwork

 Reduction Act of 1995" arguing the Form 1040 for 2000 through 2005 does not

 contain the required information IRS certified to OMB such requests would contain,

 is “frivolous.” Opp. at

       The United States cites to Salberg v. United States, 969 F.2d 379, 384 (7th Cir.

 1992), United States v. Patridge, 507 F.3d 1092, 1094 (7th Cir. 2007),James v. United

 States, 970 F.2d 750, 753 n.6 (10th Cir. 1992), United States v. Holden, 963 F.2d 1114,

 1116 (8th Cir. 1992), United States v. Dawes, 951 F.2d 1189, 1191-93 (10th Cir. 1991)

 and United States v. Wunder, 919 F.2d 34, 38 (6th Cir. 1990).

       In Salberg the theory was that section 7203 was the statute the required a

 return. Patridge affirmed Salberg but added the twist the United States evades in

 their opposition. In Patridge the 7th Circuit stated:

       One reason for this is that §7203 requires a “return” but does not define
       that word or require anyone to use Form 1040, or any “official” form at
       all.
 Patridge at 1095

       Springer is certain the United States did not offer such theory to the Grand

 Jury as paragraph 14 of Count One mentions the Form 1040 specifically. The United

 States usage of the 10th Circuit footnote in James is scandalous behavior. The note

 “noting that the lack of an OMB number on IRS notices and forms does not violate

 PRA” clearly is being taken out of context by the United States. The Dawes Court

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 answers this question and states:

       We would be inclined to follow the general analysis of Wunder and
       Hicks and hold that the operation of the PRA in these circumstances
       did not repeal the criminal sanctions for failing to file an income tax
       return because the obligation to file is a statutory one. However, we
       are not compelled to rest our opinion on the statutory origin theory
       because we find the analysis of other courts which have considered
       the issue to be persuasive.


 Dawes at 1193.


       “The 1040 form is the information collection request which arguably must

 comply with the PRA. It is through the 1040 form that the government obtains all of

 the tax information it requires.” Id. And “As long as the 1040 form complies with the

 Act, nothing more is required.” Id.

       The United States scandalous behavior does not stop with Dawes or the fact

 it takes a footnote in James and makes it the law of the land. The United States

 completely ignores a criminal published decision by the 10th Circuit in 2007.

       In U.S. v. CHISUM, 502 F.3d 1237, 1243 (10th Cir. 2007), the 10th Circuit held:



       The PRA, 44 U.S.C. §§ 3501-20, precludes the imposition of any penalty
       against a person for "failing to comply with a collection of information"
       if either (1) it "does not display a valid control number" or (2) the
       agency fails to alert the person that he or she "is not required to
       respond to the collection of information unless it displays a valid
       control number." 44 U.S.C. § 3512(a). A § 3512(a) defense may be
       raised at any time. See id. § 3512(b). Tax forms are covered by the
       PRA. See Dole v. United Steelworkers of Am., 494 U.S. 26, 33, 110 S.Ct.
       929, 108 L.Ed.2d 23 (1990). Mr. Chisum contends that "[s]ince there was
       no proof that Form 1040 was a lawful form under the [PRA], the trial

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       court erred in failing to grant [his] request [at the sentencing hearing]
       to dismiss the indictment." Aplt. Br. at 29. But the PRA protects a person
       only "for failing to file information. It does not protect one who files
       information which is false." Collins, 920 F.2d at 630 n. 13 (internal
       quotation marks omitted). The charges against Mr. Chisum were
       predicated on the filing of false information, not the failure to file. He
       is therefore not entitled to relief.


 Id. at 1244.
       Yet, the United States argues the “complete defense” argued by Springer is

 “frivolous.” Opp. at 6. The United States admits the Form 1040 does not comply

 with 5 CFR 1320.8(b)(3). It is hard to understand the opposition the United States

 takes to the complete defense Springer makes but one thing holds true. All agree

 the Form 1040 does not comply with the certification at section 19 on the Form 83I

 made by the IRS to OMB for 1998, 2001 and 2004. Springer supplied these exhibits

 to the United States on more than one occasion and they refuse to explain where

 the Form 1040 complies with the certification made by the IRS therein. None of the

 Forms comply with this certification and the United States takes no position

 otherwise. Had IRS not certified OMB’s application Form 83I for 1998, 2001 and

 2004, OMB could never have allowed IRS to continue use # 1545-0074 with some

 form of validity.

 3.    Duberstein

       The United States arrogantly in defiance to the Supreme Court’s decision in

 Commissioner v. Duberstein, 363 U.S. 278, 288 (1960) that “Judge or Jury” must

 decide whether the money Defendant Springer received is income.” Opp. at 7.


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 Duberstein states:

       Specifically, the trier of fact must be careful not to allow trial of the
       issue whether the receipt of a specific payment is a gift to turn into a
       trial of the tax liability, or of the propriety, as a matter of fiduciary or
       corporate law, attaching to the conduct of someone else.


       Yet, the United States is asking this Court to do the very thing the Supreme

 Court directed not ever be done. Furthermore, it is not whether Springer received

 “income” as the United States has worn that word out, the question is whether

 Springer received “gross income” as the Grand Jury alleges in Counts Five and Six

 or “taxable income” as alleged by the Grand Jury in Counts Two, Three and Four.

       Title 26, Section 102 clearly says “Gross income does not include the value of

 property acquired by gift, bequest, or inheretence.” It is the “terms of the gift” that

 govern this decision. See 102(b)(2).

       The United States is asking this Court to find it does not matter whether District

 Directors or internal revenue districts exist pursuant to section 7201, 7203, or under

 Title 18, Section 371's theory of impede. Venue does not matter even though Article

 III, Section 2, Clause 3 clearly states the trial is to be held in the State where the

 “crime” was “committed.” The Paperwork Reduction Act of 1995 does not matter

 regardless of whether they must acknowledge the Chisum decision or instead cite




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 to a footnote in 1992 clearly involving quiet title and a levy.4 5 And now they inform

 this Court that what the Supreme Court says or Congress says simply can be set

 aside by this Court. Turning the law upside down is not the answer.

       The Form 1040 likewise provides an even greater problem for the United

 States in this degree. On that form the phrase “adjusted gross income” becomes

 the “taxable” trigger and not “income” or “gross income” or “taxable income” as

 they carefully mislead the Grand Jury about.

       This Court is required to follow Duberstein and section 102. The United States

 explain no reason otherwise. The United States is asking this Court to have the trial

 jury decide whether money given Springer was or wasn’t a gift. Opp. at 7. This

 Court should dismiss on this admission of intent alone as it clearly shows the United

 States contempt for the rule of law and the decision by the Supreme Court.

 4.    Substantial Tax Deficiency

       The United States is asking this Court to have Springer guess as to what money

 given Springer qualifies in their intended theory to be a gift under section 102 or

 within “adjusted gross income” to make a return.

       This Court knows the United States is not required to present anything to the

 jury it chooses not to. Directing Springer to spend waisted time going through


       4
       In 1998, Congress overhauled the IRS and levy notices do require due
 process. See Title 26, Section 6330.
       5
           Or that section 3512 begins “No person shall be subject to any penalty...”

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 40,000 documents of discovery to determine which gifts the United States intends

 to argue were not gifts and which ones they accept, is a violation of every rule in

 the criminal rules.

          This is not a case where the United States intends to introduce 1099s or W-2s.

 This is a case where the United States has offered deals to people in exchange for

 their altered testimony. In some cases, the testimony changed in less than a week

 under their own evidence.

          Springer will simply ask for the tax records of every person the United States

 plans to introduce in attempt at establishing some theory of adjusted gross income

 instead of gifts being intended by those specific persons.

          The United States’ attempt to suggest the “taxes of another” theory is just the

 sort of guessing the criminal rules of this Court were written to avoid. The United

 States cites to See United States v. Wilson, 118 F.3d 228, 231, 236 (4th Cir. 1997)

 where it asserts an “attorney convicted of attempting to evade a client’s taxes.”

 This is even more interesting because it suggests the United States theory is Springer

 is a client of Stilleys.

          Where is it that some Fourth Circuit case in 1997 squarely off point has

 purported precedential value while Supreme Court and 10th Circuit precedent are

 extremely ignored? If the United States has its way that place would be in this

 Court.



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 5.    Silence

       The United States argues that “It is not criminal to earn income; therefore, the

 requirement to file a federal income tax return does not compel an individual to

 testify against oneself, in violation of the Fifth Amendment of the United States

 Constitution.” Opp. at 9.

       There is many more testimonial applications to what can be derived from the

 submission of anything on any Form and the United States does not argue

 otherwise.      The United States did not deny the pervasive regulation of Springer

 specifically.

       Springer cited to Garner and Marchetti and stated:

       In the gambling tax cases, however, making a claim of privilege when
       the disclosures were requested, i. e., when the returns were due, would
       have identified the claimant as a gambler. The Court therefore
       forgave the usual requirement that the claim of privilege be presented
       for evaluation in favor of a "claim" by silence. See Marchetti, 390 U.S.,
       at 50. Nonetheless, it was recognized that one who "claimed" the
       privilege by refusing to file could be required subsequently to justify his
       claim of privilege. See id., at 61. If a particular gambler would not
       have incriminated himself by filing the tax returns, the privilege would
       not justify a failure to file. Garner, 658-659


 Fifth Memo at 7
       The United States counters:


       In Garner, the Court stated that “the claims of privilege we consider
       here are only those justified by a fear of self-incrimination other than
       under the tax laws. Finally, nothing we say here questions the
       continuing validity of Sullivan’s holding that returns must be filed.” 424
       U.S. at 650, n.3.

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 Opp. at 10
       Yet, Garner clearly states:
       In the latter cases the Court considered whether the Fifth Amendment
       was a defense in prosecutions for failure to file the returns required of
       gamblers in connection with the federal occupational and excise
       taxes on gambling. The Court found that any disclosures made in
       connection with the payment of those taxes tended to incriminate
       because of the pervasive criminal regulation of gambling activities.


 Garner, at 658

       The Fifth Amendment is not stuck in 1927 as the United States wishes this Court

 to argue. In fact, the entire reason for the Paperwork Reduction Act of 1980 and

 1995 was to give the public notice so they could evaluate what they should and

 should not answer on any specific compliant form.

       Then of course is the legislative history of the 1995 PRA which makes it clear

 that Congress ushered in the Paperwork Reduction Act of 1995, intending to make

 “unequivocally” “clear” that the Paperwork Reduction Act of 1980 was enacted

 to “eliminate exemptions from review for several agencies” including the “Internal

 Revenue Service.” See House Report, P.L. 104-13 [page 8] at 171-172.

       Because of the inconsistency, the House Report No. 104-37 [page 53] states

 that the scope, purpose, and requirements of section 3512's current provisions on

 public enforcement “are unchanged”. Id. The report states that section 3512 was

 “amended, however, for purpose of consistency and clarity, and to unequivocally

 cover all collection of information.” Id.



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       The United States takes no exception to the claim by Springer there is a

 pervasive regulation of purported labeled “tax defiers” and “tax protestors.” They

 do not deny the claim by Springer this area of regulation is heavier regulated than

 gambling at any time whatsoever.

       Furthermore, they do not take exception Springer has been under criminal

 investigation by the IRS since at least 1995. Count Four shows the contempt for the

 Fifth Amendment the United States has in the case against Springer.

       Springer is told on September 16, 2005, he is being criminally investigated by

 Brian Shern, Melody Noble Nelson and Douglas Horn, in relation to his conduct

 attending criminal trials of certain persons, including the Patterson Trial in 2003. The

 United States gives no explanation as to how Springer could say or do anything

 whatsoever with the IRS and whatever Springer were to have said or done, that

 said or done would have had a likelihood of being used against Springer as is being

 done in this case currently.

       The United States has simply turned the general notion of gathering income

 tax information into a criminal investigation of Springer. The United States argues

 the earning of income is not criminal. Then why have they sought a Grand Jury

 indictment over and over again for the last umpteen years until they apparently

 succeeded? If Springer was not alleged to have had “income” as a crime then

 why is “substantial tax deficiency” an element of a tax evasion charge?

       Under the United States theory the earning of adjusted gross income is

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 criminal and amnesty is allowed once certain theories are said to have been

 satisfied.

        Dismissal is warranted based upon proper application of the Fifth

 Amendment as Springer was given no alternative other than to remain silent.

 6.     Count One Defraud

        The United States argues Springer is frivolous and without merit regarding the

 indictment failing to allege the functions by statute the object of the conspiracy

 was to impede or impair. Count one says “computation, ascertain, assessment,

 and collection” of taxes owed by Springer.

        Presuming the IRS has a function of computing and collecting, the

 ascertaining and assessment stand in their way. To ascertain clearly would mean

 to gather information.      Besides the problem with the Form 1040 gathering

 instruments, and the Fifth Amendment application in Springer’s case, the only

 argument made, or could be made, is Springer did not voluntarily supply the

 information the IRS wished to ascertain. This is why Duberstein is so problematic for

 the United States in its theory. In order to get to ascertain the United States must get

 past so many road blocks according to the law and Supreme Court decisions.

 Assessment and Collection are clearly not available to the United States because

 of the “abolished” District Directors.

        Title 26, Section 6203 and 6301 lead to 26 CFR 301.6203-1 and 301.6301-1



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 which both rely solely upon the District Director to make “assessments” and

 “collect” taxes. Since those positions do not exist there is no way Springer could

 have impeded the District Director’s function in anyway.

       This leaves “computation” which means what? Springer and Stilley conspired

 to impede the IRS’ computation of Springer’s adjusted gross income? There is no

 allegation supporting such a claim. Who is the person assigned to compute

 Springer’s adjusted gross income that Springer and Stilley intended to impede? The

 United States cannot show Springer was aware of any computing whatsoever.

       The United States admits the conspiracies object must have been to “violate

 the law.”

       In the Five elements they agree they are as follows:
       1. The defendant agreed with at least one other person to violate the
       law;
       2. One of the conspirators engaged in at least one overt act furthering
       the conspiracy’s objective;
       3. The defendant knew the essential objective of the conspiracy;
       4. The defendant knowingly and voluntarily participated;
       5. There was interdependence among the members of the
       conspiracy, that is, the members, in some way or manner, intended to
       act together for their shared mutual benefit within the scope of the
       conspiracy charged.
 Opp. at 11
       Yet, the United States then argues “Defendants assert that the Government

 ‘must prove Springer and Stilley entered into an agreement to violate this law,’ and

 appear to be arguing that there must be some other law that the Defendants

 conspired to violate.” Opp. at 13.

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       The United States concludes that it is the second part of section 371 under

 Title 18 that this Court should instruct the jury Stilley and Springer had as an object

 to violate. Such a response clearly would make no sense.

       For instance, In the Five elements they agree imputing section 371, they

 would read as follows:

       1. The defendant agreed with at least one other person to violate
       section 371,
       2. One of the conspirators engaged in at least one overt act furthering
       the conspiracy’s objective to violate section 371;
       3. The defendant knew the essential objective of the conspiracy was
       to violate section 371;
       4. The defendant knowingly and voluntarily participated in the
       violation of section 371;
       5. There was interdependence among the members of the
       conspiracy, that is, the members, in some way or manner, intended to
       act together for their shared mutual benefit within the scope of the
       conspiracy to violate section 371.


       Section 371 is entitled Conspiracy ...to Defraud the United States. “We begin

 with the18 U.S.C. § 371 conspiracy charge. In order to convict a defendant of that

 offense, the government must prove beyond a reasonable doubt that (1) the

 defendant entered into an agreement; (2) the agreement involved a violation of

 the law; (3) one of the members of the conspiracy committed an overt act; (4) the

 overt act was in furtherance of the conspiracy's object; and (5) the defendant

 wilfully entered the conspiracy.” United States v. Dazey, 403 F.3d 1147, 1159 (10th

 Cir. 2005). "The core of a conspiracy is an agreement to commit an unlawful act."



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 United States v. Morehead, 959 F.2d 1489, 1500 (10th Cir. 1992) (quoting United

 States v. Esparsen, 930 F.2d 1461, 1471 (10th Cir. 1991)). "[T]he critical inquiry is

 whether the circumstances, acts, and conduct of the parties are of such a

 character that the minds of reasonable men may conclude therefrom that an

 unlawful agreement exists." Id. (quoting United States v. Kendall, 766 F.2d 1426, 1431

 (10th Cir. 1985)). The existence of the agreement to violate the law may be inferred

 from a "unity of purpose or common design and understanding" among

 conspirators to accomplish the objects of the conspiracy. Kendall, 766 F.2d at 1431

 quoted in U.S. v. Thompson, 518 F.3d 832, 853 (10th Cir. 2008)

       Only if all five of the elements are proven can a jury find section 371 was

 violated. The United States is asking this Court to find that section 371 is violated

 when the object of an agreement is to violate section 371.         That argument is

 circular and ridiculous. This is why the indictment on the conspiracy is much about

 nothing.

       What law did the Grand Jury find Springer and Stilley had as an objective

 agreeing to violate the law? The indictment does not say. All five elements show

 the object does not have to be complete to have a violation of section 371 yet

 each of the elements would need incorporate section 371 and the “impede, impair

 obstruct and defeat” the IRS functions listed in order to then end up with such

 violation.

       Section 371 clearly says “to defraud...any agency there of” and defraud is

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 defined in United States v. Caldwell, 989 F.2d 1056 (9th Cir. 1993), as "through

 fraudulent or dishonest means," and "by dishonest means." Id. at 1060. The Ninth

 Circuit defined conspiracy to defraud the IRS under 18 U.S.C. § 371 as requiring

 agreement to impede a lawful function of the government by "deceitful or

 dishonest means." Id. at 1059. It reversed a conviction because the district court's

 instructions did not make it clear that the jury had to find the means were deceitful

 or dishonest; the court's instruction that the jury find "a joint plan to obstruct,

 impede, impair and defeat" was not sufficiently specific. The Caldwell court did not

 prescribe a specific form of jury instruction, but held that it had to include the

 "dishonest means" requirement. See id. at 1059 n. 3; see U.S. v. Scott, 37 F.3d 1564

 (10th Cir. 1994) Hammerschmidt itself stated that "[t]o conspire to defraud the

 United States means primarily to cheat the government out of property or money"

 and "usually" involves "trick, deceit, chicane, or overreaching." 265 U.S. at 188, 44

 S.Ct. at 512.

       The 10th Circuit in U.S. v. BEDFORD, 536 F.3d 1148, 1155 (10th Cir. 2008) stated

 there must be a “substantive crime of defrauding the government.”

  Section 371 cannot be the object of the conspiracy and the statute violated if all

 the elements are found.

 7.    Meadors and the Fourth and Fifth Amendment

       The United States claims Meadors was not working with criminal investigators

 or the civil/criminal coordinator, David Reed in Oklahoma City. The evidence


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 demonstrates otherwise. As Springer clearly shows in his Motion to Suppress and for

 a Frank’s Hearing, Meadors was actively involved with Reed and the Criminal

 Investigation of Springer as early as 2003. See Exhibits 5,6 and 7 therein. The United

 States admits she worked as the cooperative Revenue Agent in the Patterson case

 in 2003 which she worked side by side with CI Agent Tim Arsenault. Arsenault

 clearly was investigating Springer during the Patterson Trial. See Exhibit Exhibit 12

 (Arsenault Memo 5.12.2004) and 20 (Shern purported Affidavit.)

       The United States turning to hide behind a Grand Jury “indicted them” to

 cover for selective prosecution is equally ridiculous. The United States clearly took

 no exception to their “tax defier initiative” nor could they. This initiative clearly was

 aimed at people outspoken against the crimes of the Internal Revenue Service.

 Springer clearly fell within that category which is clearly an arbitrary classification.

 There is not a single code section of law that uses the phrase “tax defier.” You

 cannot get more arbitrary than that.

       The United States argues Shern was not lying when he told Stilley he was not

 under criminal investigation in June of 2006. Douglas Horn’s request for permission

 from the Department of Justice in December of 2005 to subpoena Oscar Stilley

 clearly shows the United States is continuing to lie to this Court. See Exhibit 31.

       The United States admits Oscar Stilley asked if he was under criminal

 investigation and even admits they lied to him. Yet they argue they can use his

 testimony against him and Springer notwithstanding the Fifth Amendment. These


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 United States Attorneys making such argument need to be fired. No person shall

 be compelled in any criminal case to be a witness against himself.       The United

 States argues these words ring hallow. Springer wonders why the great men and

 women of our armed forces continue to put on the uniform and shoulder such a

 burden when the lawyers allowed to continue in their civil jobs render those words

 thought being protected as meaningless.

       In footnote 7 the United States argues Shern’s lie was innocent. They argue

 Shern did not know Stilley was a target.        Opp at 18, fn 7.   The evidence is

 overwhelming against such a posture. On page 13 of Exhibit 206 attached to

 Springer’s Motion to Suppress and for a Frank’s Hearing, Shern says “Stilley has not

 filed an income tax return since before 1990.” See paragraph 17 therein.

       Shern states during the Patterson “investigation” that investigation was

 expanded to include Springer. Exhibit 20, at 3. On May 6, 2004, Special Agent Tim

 Arsenault interviewed Patterson after Patterson “waived” his attorney client

 privilege regarding Oscar Stilley. Exhibit 20, pg. 4.

       To argue Shern innocently in March 2006 lied to Stilley about whether he was

 a target of Shern’s investigation while Shern served a subpoena on Stilley to testify

 before a Grand Jury is simply fraudulent and beyond prosecutorial misconduct.

       O’Rielly may not have known about the investigation of Stilley, but clearly Mr.




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       All these exhibits are attached to Springer’s Motion for Frank’s Hearing
 and to Suppress.

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 Snoke and Shern were more than aware. Douglas Horn was head of the criminal

 division during this time period between 2001 and 2007. See Exhibit 32. Snoke told

 Stilley during a hearing Stilley attempted to represent a defendant named

 Blackstock that Stilley should not be allowed to represent Blackstock because he

 was under ongoing investigation by the Northern District’s Office. In June of 2006,

 at the same time Stilley was to provide additional information to Shern, Snoke

 appears at the arraignment of Blackstock and raises a conflict of interest charge

 because of the criminal investigation. See Exhibit 33.

       The United States argues it was not until 16 months after the Patterson case

 was closed that Springer was added to that Grand Jury investigation. Opp. at 20.

 The evidence says otherwise and Mr. O’Rielly no longer can maintain his innocence

 if he continues to argue what the evidence he has before him clearly shows. See

 Exhibit 5,6,7,8,11,1213,20 and 2.4

                                      CONCLUSION

       This Court should grant each and every Motion to Dismiss filed by Springer for

 the reasons stated therein, the reasons agreed to by the United States, and as

 explained in more detail herein.

                                  Respectfully Submitted
                                  /s/ Lindsey K. Springer
                                  Lindsey K. Springer
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                                  Tulsa, Oklahoma 74135
                                  918-748-5539/955-8225(cell)




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Lindsey Kent Springer’s

 Reply regarding Opposition to his Motions to Dismiss by the United Statse was ecf’d

 on June 15, 2009, to:



 Kenneth P. Snoke,
 Charles O’Reilly,
 Oscar Stilley




                          /s/ Lindsey K. Springer
                          Signature




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